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                                                                 IN THE CIRCUIT COURT OF THE NINTH
                                                                 JUDICIAL CIRCUIT IN AND FOR ORANGE
                                                                 COUNTY, FLORIDA

         ALTERNA CAPITAL SOLUTIONS LLC,
         a Florida limited liability company,



                 Plaintiff,
                                                                   CASE NO.:
         v.


         DICK'S SPORTING GOODS, INC.,                  a

         Delaware corporation,

                 Defendant.



                                                           COMPLAINT

                Plaintiff, Alterna Capital Solutions LLC ("Aherne),            sues   Defendant, Dick's Sporting

        Goods, Inc. ("Dick's") and alleges:

                                       JURISDICTION, PARTIES, AND VENUE
                1.      This is   an   action that includes claims for damages that exceed $50,000.00, exclusive

        of interest, costs, and attorney's fees.

                2.      At all times material to this action, Plaintiff, Alterna, has been      a   Florida limited

        liability company doing business in Orange County, Florida.

                3.      At all times material to this action, Defendant, Dick's, has been                  a   Delaware

        corporation doing business in Orange County, Florida and registered to do business in Florida.

                4.      Dick's has submitted itself to the jurisdiction of this Court under Sections

        48.193(1)(a)(1) and (7), Florida Statutes, because they conducted, engaged in,                or       carried on

        business in this State; and breached       a   contract within this State and within this   judicial district,

        causing damage to Alterna within this judicial district.             Moreover, Dick's is subjection to
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jurisdiction under Section 48.193(2), Florida Statutes, because it engaged in substantial and not

isolated activity within the State of Florida.

          5.      Under Section 47.011, Florida Statutes,                venue   is proper in Orange County, Florida

because the causes of action accrued in Orange County.

                   GENERAL ALLEGATIONS                    COMMON TO ALL COUNTS

          6.      Alterna is    a   factoring company that offers specialized financing for small to mid-

sized businesses by purchasing their accounts receivable (i.e., invoices) that allows the businesses

to convert their receivables into much needed cash. After Alterna purchases the invoices from                      a



client, it simply takes over the collection of the payment from the client's customers. This allows

the clients to bridge the cash flow gap between when they invoice their customers and when they

ultimately collect payment from their customers.

           7.      In early 2020, Alterna entered into              an    agreement with The Original Swimwear

    Company ("TOSC") whereby Alterna agreed to purchase certain TOSC accounts (evidenced by

    invoices)1, including accounts to be paid by Dick's.

                   On March 26, 2020, Alterna sent              a   letter to Dick's notifying it that TOSC had

assigned all of its present and future accounts to Alterna, and that all payments due to Alterna now

or   in the future must be made payable directly to Alterna (the "Notice of Assignment"). The Notice

of Assignment complied with Section 679.4061, Florida Statutes, and a true of correct copy of the

Notice of Assignment is attached hereto          as   Exhibit       A.




     The term "accounts"   used in this Complaint shall have the same meaning as used under Section
1

                           as

679.1021(b), Florida Statutes, which defines "Account," in pertinent part, to mean: (i) a right to payment
of a monetary obligation, whether or not earned by performance, (A) for property that has been or is to be
sold.


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            9.     Dick's ignored the Notice of Assignment, and misdirected payment of the

Accounts to TOSC totaling $396,717.00. A list of the Accounts Dick's misdirected payment to

TOSC is attached hereto        as    Exhibit   B.

            10.    Despite demand, Dick's has failed to make payment to Alterna.

            11.    All general and statutory conditions precedent to bringing this action have been

performed, have occurred, have been waived,                or   have otherwise been excused by the Defendant's

actions.

                                                COUNT I
                                         ACTION FOR MONIES DUE

            12.   Plaintiff   sues    Defendant for damages that exceed $50,000.00, for monies due.

            13.   Plaintiff realleges, incorporates, and asserts by reference the allegations set forth

above in Paragraphs      1
                             through    8.


            14.   On March 26, 2020, Alterna sent                   a   letter to Dick's notifying it that TOSC had

assigned all of its present and future accounts to Alterna, and that all payments due to Alterna now

or   in the future must be made payable directly to Alterna (the "Notice of Assignment"). The Notice

of Assignment complied with Section 679.4061, Florida Statutes, and a true of correct copy of the

Notice of Assignment is attached hereto             as   Exhibit        A.

            15.    Dick's ignored the Notice of Assignment, and misdirected payment of the

Accounts to TOSC totaling $396,717.00. A list of the Accounts Dick's misdirected payment to

TOSC is attached hereto        as    Exhibit   B.

            16.   As of November 17, 2021, Dick's                   owes     Alterna $396,717.00, which is due with

interest.


            WHEREFORE, Alterna demands judgment against Dick's in the amount of $396,717.00,

plus applicable interest and costs.



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                                               COUNT II
                                           ACCOUNT STATED

        17.    Plaintiff   sues   Defendant for damages that exceed $50,000.00, for account stated.

        18.    Plaintiff realleges, incorporates, and asserts by reference the allegations set forth

above in Paragraphs   1
                          through    8.


        19.    Dick's agreed to the terms and conditions set forth in the Notice of Assignment.

       20.     Dick's     owes    Alterna the    sum   of $396,717.00, together with interest and costs,   on



the Accounts set forth in Exhibit         B.

       WHEREFORE, Alterna demands judgment against Dick's                          for $396,717.00, plus

applicable interest and costs.

       Dated: November 18, 2021.
                                               s/ Tucker H.
                                               Tucker H. Byrd
                                               Florida Bar No. 381632
                                               Scottie N. McPherson
                                               Florida Bar No. 085137
                                               BYRD CAMPBELL, P.A.
                                               180 Park Avenue North, Suite 2A
                                               Winter Park, Florida 32789
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                                               Primary Email: SMcPherson@ByrdCampbell.com
                                               Secondary Email: RMicale@ByrdCampbell.com
                                               Attorneys for Plaintiff




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                 EXHIBIT A
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                                                                ALTERNA
                                                                   CAPITAL           SOLUTIONS

3/26/2020

Dick's Sporting Goods
245 Court Street
Coraopolis, PA 15108

Attention: Accounts Payable

Re: The Original Swimwear Company      —

                                           Payment Remittance and Assignment Change

Recently, The Original Swimwear Company has experienced exponential growth in its business. Due to
this recent growth, we are pleased to announce that they have entered into an agreement with Alterna Capital
Solutions, LLC ("ACS"). In order for The Original Swimwear Company to better service their customers,
they have assigned and will continue to assign, their present and future accounts to ACS. Further, pursuant
to 9-406 of Revised Article 9 of the Uniform Commercial Code, ACS has filed a Financing Statement
covering The Original Swimwear Company's accounts.

To the extent that you are now indebted or may in the future become indebted to The Original Swimwear
Company on an account or a general intangible, for proper credit, payment thereof is to be made payable
to The Original Swimwear Company and sent to the addresses listed below. Payments remitted to any other
address will not constitute payment of this invoice.

The Primary Remittance Address is:

The Original Swimwear Company
c/o ACS
P.O. Box 936601
Atlanta, GA 31193-6601

To send payments via ACH, please send to:

Bank Name: Wells Fargo Bank, N.A.
Bank Account Name: Alterna Capital Solutions LLC
Routing Number: 121000248
Bank
FBO: The Original Swimwear Company


This letter may only be revoked in writing by both The Original Swimwear Company and ACS.


Best Regards,



Sarah Brasil
Collateral Analyst
Alterna Capital Solutions, LLC
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                  EXHIBIT B
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 Please Remit All Payments To:


 The Original Swimwear Company, LLC C/O Alterna Capital Solutions, LLC PO BOX 936601 Atlanta, GA 31193




                                                    Invoices Were Purchased From:


 Dick's Sporting Goods, inc. 345 Court St Cor The Original Swimwear Company, LLC 2915 Red Hill Avenue Suite C-102 Costa Mesa, CA 92626




       Invoice#     Date                  Amount            Age


        409804    2/26/2020             16,080.00           202

        409805    2/26/2020              9,648.00           202

        409806    2/26/2020             17,280.00           202

        409807    2/26/2020             10,368.00           202

        409808    2/26/2020             10,368.00           202

        409809    2/26/2020             15,228.00           202

        409810    2/26/2020             15,228.00           202

        409811    2/26/2020            23,617.50            202

        409812    2/26/2020             14,170.50           202

        409813    2/26/2020            25,380.00            202

        409814    2/26/2020             12,420.00           202

        409815    2/26/2020             11,557.50           202

        409816    2/26/2020              6,934.50           202

        409817    2/26/2020              7,452.00           202

        409818    2/26/2020              7,452.00           202

        409819    2/26/2020             18,468.00           202

        409820    2/26/2020             18,468.00           202

        409821    2/26/2020            32,220.00            202

        409822    2/26/2020             16,783.50           202

        409823    2/26/2020            28,642.50            202

        409824    2/26/2020            20,602.50            202

        409825    2/26/2020             12,160.50           202

        409826    2/26/2020             19,620.00           202

        409827    2/26/2020             13,284.00           202

        409828    2/26/2020             13,284.00           202



                    Total Due     $   396,717.00



Ice   address. lf there   are   any problems with the invoices listed   or   payment will not be mailed   as   anticipated, please contact   us   at (407)564-2270.
